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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NORTH DAKOTA

United State of America,
                                                         Case No. 3:23-cr-00206
                   Plaintiff,

v.
                                                            MOTION TO CONTINUE TRIAL
Raymond Everett Holmberg, a/k/a Raymon
Holmberg, a/k/a Ray Holmberg, a/k/a Sean
Evan, a/k/a Sean Evans,

                   Defendant.


            The Defendant, Raymon Holmberg, by and through his attorney, Mark A. Friese,

moves the Court for an Order continuing trial previously scheduled for December 5, 2023. The

Defendant requests a continuance to permit counsel to review detailed discovery and to prepare

his defense.

            This motion is made in the interests of justice and not for purposes of delay. The United

States is aware of and does not object to the requested continuance.

            A speedy trial waiver is filed with this request.

            Dated this 13th day of November, 2023.

                                                 VOGEL LAW FIRM

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